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                     EXHIBIT 22
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From:                 Koski, James - MYR
Sent:                 Tuesday, March 31, 2020 4:05 PM CDT
To:                   Finner, Troy - HPD
CC:                   Assiff, Charles - HPD; Eichenbaum, Marc - HCD; Icken, Andy - MYR; Hunter, Marvalette - MYR; Wright, Steve - PRD;
                      Messiah, C. J. - GSD; Lawson, Rhea - HPL
Subject:              RE: Food Not Bombs Feeding


Thank you, Chief.

James Koski
Deputy Chief of Staff
Office of Mayor Sylvester Turner
832.393.0833, james.koski@houstontx.gov

From: Finner, Troy <Troy.Finner@HoustonPolice.Org>
Sent: Tuesday, March 31, 2020 4:03 PM
To: Koski, James - MYR <James.Koski@houstontx.gov>
Cc: Assiff, Charles - HPD <Charles.Assiff@HoustonPolice.Org>; Eichenbaum, Marc - HCD
<Marc.Eichenbaum@houstontx.gov>; Icken, Andy - MYR <Andy.Icken@houstontx.gov>; Hunter,
Marvalette - MYR <Marvalette.Hunter@houstontx.gov>; Wright, Steve - PRD
<Steve.Wright@houstontx.gov>; Messiah, C. J. - GSD <cjmessiah@houstontx.gov>; Lawson, Rhea - HPL
<Rhea.Lawson@houstontx.gov>
Subject: Re: Food Not Bombs Feeding

[Message Came from Outside the City of Houston Mail System]


Thanks James, I just spoke with Mrs Dora and informed her the feeding needs to take place at the
Library Plaza.

Sent from my iPhone




    On Mar 31, 2020, at 3:44 PM, Koski, James - MYR <James.Koski@houstontx.gov> wrote:


    Chief Finner and Sergeant Assiff,
    Thank you for the updates about the unauthorized feedings at Hermann Square. Any feeding
    requires the property owners permission. The City does not authorize feedings at Hermann Square.

    For years, the City has authorized feedings at the Central Library Plaza and adjacent sidewalks along
    Lamar Street. That continues to be an authorized area and that’s where Food Not Bombs or other
    organizations should be directed to go, which is consistent with where they have provided feedings
    for years.




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    The City is sensitive to the fact that with the Library closure as a result of the coronavirus that shelter
    and restroom facilities are not currently available for the homeless in that area. The City is
    coordinating to provide some port-a-pots and portable handwashing stations to be located in that
    area.

    Please contact me if you have any questions. Thank you.

<image001.jpg>                   James Koski, Deputy Chief of Staff

                                 Office of Mayor Sylvester Turner

                                 901 Bagby, 3rd Floor
                                 Houston, Texas 77002
                                 Direct: 832-393-0833
                                 Cell: 713-447-7925
                                 Fax: 832-393-0836
                                 Email: james.koski@houstontx.gov

                                 Partnering to better serve Houston




                                                                                                              COH-084852
